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May 6, 2025

Honorable Claudia Wilken
United States District Court
Northern District of California
1301 Clay Street
Oakland, CA 94612

       Re:     House v. NCAA, Case No. 4:20-cv-03919-CW;
               Letter on Behalf of Samuel F. Yurasek,
               Walk-On Athlete at Loyola University Chicago

Dear Judge Wilken:

         I represent Samuel F. Yurasek, an undergraduate walk-on athlete in the Men’s
Basketball program at Loyola University Chicago. My client respectfully submits this
letter to express his concerns about the potential loss of his roster spot due to roster size
limitations imposed by the House v. NCAA settlement, approved on April 7, 2025.

        At Loyola, Samuel is one of four walk-on athletes on his team. He has been
informed by the Loyola coaching staff that while two walk-ons have been offered
scholarships, his roster status, along with that of one other walk-on, remains uncertain
due to potential roster reductions. As an active contributor who played in three games
during the 2024-2025 season, Samuel is integral to the team’s competitive efforts, beyond
mere practice support. The settlement’s roster caps threaten to eliminate opportunities
for walk-ons like him, despite their proven value on the court.

        While proposals like practice squads have been suggested to mitigate the
settlement’s impact, such a role is inadequate for Samuel, given his active participation in
games. Losing his roster spot would not only limit his athletic development but also
jeopardize his educational and professional aspirations, which rely on his continued
involvement with the team. Also, Samuel is a Men’s Basketball Alston Award
scholarship recipient in the amount of $5,938, as well as a recipient of academic
tutoring—benefits which he would lose should he lose his roster spot.

         Although the objection period has closed, Samuel respectfully urges the Court to
consider the settlement’s disproportionate impact on walk-on athletes who contribute to
competition as well as those who receive partial scholarships for sports. He requests that
mechanisms be explored to protect active walk-ons, such as exemptions from roster caps
for non and partial scholarship players with game experience. Should further
submissions or proceedings be permitted, my client is prepared to provide additional
details.
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  Thank you for your consideration.

                              Respectfully submitted,



                              Paul T. Llewellyn




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